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                                                                  L.B.F. 3015.1

                                                UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF PENNSYLVANIA

In re:         Carter-Jones, Deidre Ruth                                  Chapter      13

                                                                          Case No.          24-11307

                    Debtor(s)

                                                             Chapter 13 Plan

           ✔ Original
           ❑
           ❑                 Amended

Date:

                                              THE DEBTOR HAS FILED FOR RELIEF UNDER
                                               CHAPTER 13 OF THE BANKRUPTCY CODE

                                                   YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these
papers carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                             IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                             MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                          NOTICE OF MEETING OF CREDITORS.

   Part 1:       Bankruptcy Rule 3015.1(c) Disclosures

         ❑ Plan contains non-standard or additional provisions – see Part 9
         ❑ Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
         ❑ Plan avoids a security interest or lien – see Part 4 and/or Part 9

   Part 2:       Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

         § 2(a) Plan payments (For Initial and Amended Plans):

           Total Length of Plan:         60       months.

           Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”)   $165,000.00
           Debtor shall pay the Trustee   $2,750.00      per month for    60  months and then
           Debtor shall pay the Trustee                  per month for the remaining        months;

                                                                         or
           Debtor shall have already paid the Trustee                     through month number         and
           then shall pay the Trustee                     per month for the remaining      months.



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                  Other changes in the scheduled plan payment are set forth in § 2(d)

     § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source,
amount and date when funds are available, if known):




       § 2(c) Alternative treatment of secured claims:

            ✔ None. If “None” is checked, the rest of § 2(c) need not be completed.
            ❑
       § 2(d) Other information that may be important relating to the payment and length of Plan:




       § 2(e) Estimated Distribution:

             A.     Total Priority Claims (Part 3)

                    1.    Unpaid attorney’s fees                                   $                  2,450.00

                    2.    Unpaid attorney’s costs                                  $                     0.00

                    3.    Other priority claims (e.g., priority taxes)             $                     0.00

             B.                 Total distribution to cure defaults (§ 4(b))       $               137,697.82

             C.     Total distribution on secured claims (§§ 4(c) &(d))            $                     0.00

             D.     Total distribution on general unsecured claims(Part 5)         $                  7,101.00

                                                          Subtotal                 $               147,248.82

             E.                 Estimated Trustee’s Commission                     $                16,360.98

             F.                 Base Amount                                        $               165,000.00

       §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

           By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s Disclosure of Compensation
[Form B2030] is accurate, qualifies counsel to receive compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve
counsel’s compensation in the total amount of $                       , with the Trustee distributing to counsel the amount stated in
§2(e)A.1. of the Plan. Confirmation of the plan shall constitute allowance of the requested compensation.

  Part 3:          Priority Claims

       § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise.

 Creditor                                            Claim Number                  Type of Priority              Amount to be Paid by
                                                                                                                 Trustee

 Cibik Law, P.C.                                                                   Attorney Fees                                        $2,450.00

       § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

            ✔ None. If “None” is checked, the rest of § 3(b) need not be completed.
            ❑

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   Part 4:       Secured Claims

        § 4(a) Secured Claims Receiving No Distribution from the Trustee:

            ❑ None. If “None” is checked, the rest of § 4(a) need not be completed.
 Creditor                                                                 Claim                         Secured Property
                                                                          Number

 ✔ If checked, the creditor(s) listed below will receive no
 ❑
 distribution from the trustee and the parties’ rights will be governed                                 14 Huntingdon Ct Uppr Chichstr, PA
 by agreement of the parties and applicable nonbankruptcy law.                                          19061-2520
 Wells Fargo

        § 4(b) Curing default and maintaining payments

            ❑ None. If “None” is checked, the rest of § 4(b) need not be completed.
       The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay directly to creditor
monthly obligations falling due after the bankruptcy filing in accordance with the parties’ contract.

 Creditor                                   Claim Number             Description of Secured                        Amount to be Paid by
                                                                     Property and Address, if                      Trustee
                                                                     real property

                                                                     14 Huntingdon Ct Uppr Chichstr, PA
 Wells Fargo (Arrearage)                                                                                                                   $137,697.82
                                                                     19061-2520

        § 4(c) Allowed secured claims to be paid in full: based on proof of claim or preconfirmation determination of the amount, extent
or validity of the claim

            ❑ None. If “None” is checked, the rest of § 4(c) need not be completed.
               (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the plan.

                (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount, extent or
validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.

               (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under Part 5
of the Plan or (B) as a priority claim under Part 3, as determined by the court.

               (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a)(5)(B)(ii) will be
paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for “present value” interest in its proof
of claim or otherwise disputes the amount provided for “present value” interest, the claimant must file an objection to confirmation.

             (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
corresponding lien.

 Name of Creditor                   Claim            Description of                Allowed           Present           Dollar            Amount to
                                    Number           Secured                       Secured           Value             Amount of         be Paid by
                                                     Property                      Claim             Interest          Present           Trustee
                                                                                                     Rate              Value
                                                                                                                       Interest

 Kikoff Lending Llc                                                                          $0.00           0.00%              $0.00             $0.00

        § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506



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          ✔ None. If “None” is checked, the rest of § 4(d) need not be completed.
          ❑
       § 4(e) Surrender

          ✔ None. If “None” is checked, the rest of § 4(e) need not be completed.
          ❑
       § 4(f) Loan Modification

          ✔ None. If “None” is checked, the rest of § 4(f) need not be completed.
          ❑
          (1) Debtor shall pursue a loan modification directly with                     or its successor in interest or its current servicer
(“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.

           (2) During the modification application process, Debtor shall make adequate protection payments directly to Mortgage Lender in the
amount of                      per month, which represents                     (describe basis of adequate protection payment). Debtor shall
remit the adequate protection payments directly to the Mortgage Lender.

            (3) If the modification is not approved by               (date), Debtor shall either (A) file an amended Plan to otherwise provide
for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the automatic stay with regard to the collateral and
Debtor will not oppose it.


   Part 5:        General Unsecured Claims

       § 5(a) Separately classified allowed unsecured non-priority claims

          ✔ None. If “None” is checked, the rest of § 5(a) need not be completed.
          ❑
       § 5(b) Timely filed unsecured non-priority claims

             (1) Liquidation Test (check one box)

                    All Debtor(s) property is claimed as exempt.

                ✔ Debtor(s) has non-exempt property valued at $           28,710.77     for purposes of § 1325(a)(4) and plan provides for
                    distribution of $    7,101.00       to allowed priority and unsecured general creditors.

             (2) Funding: § 5(b) claims to be paid as follows (check one box)

                ✔ Pro rata
                    100%
                    Other (Describe)

   Part 6:        Executory Contracts & Unexpired Leases


          ✔ None. If “None” is checked, the rest of § 6 need not be completed.
          ❑
   Part 7:        Other Provisions

       § 7(a) General principles applicable to the Plan

             (1) Vesting of Property of the Estate (check one box)

                       ✔ Upon confirmation
                           Upon discharge

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of claim controls
over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

          (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B),(C) shall be
disbursed to the creditors by the debtor directly. All other disbursements to creditors shall be made by the Trustee.




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           (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to
the extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor and the Trustee and approved by the court.

       § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

             (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for
by the terms of the underlying mortgage note.

          (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the
imposition of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be
assessed on post-petition payments as provided by the terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the
Debtor provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly
statements.

            (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to
the filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.

             (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

       § 7(c) Sale of Real Property

          ✔ None. If “None” is checked, the rest of § 7(c) need not be completed.
          ❑
   Part 8:        Order of Distribution

The order of distribution of Plan payments will be as follows:

          Level 1: Trustee Commissions*
          Level 2: Domestic Support Obligations
          Level 3: Adequate Protection Payments
          Level 4: Debtor’s attorney’s fees
          Level 5: Priority claims, pro rata
          Level 6: Secured claims, pro rata
          Level 7: Specially classified unsecured claims
          Level 8: General unsecured claims
          Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10)
percent.

   Part 9:        Non Standard or Additional Plan Provisions

     Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is
     checked. Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

     ✔ None. If “None” is checked, the rest of Part 9 need not be completed.
     ❑




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  Part 10:     Signatures

    By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional provisions
other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of this Plan.


Date:        05/29/2024                                                           /s/ Michael A. Cibik
                                                                   Michael A. Cibik
                                                                   Attorney for Debtor(s)


          If Debtor(s) are unrepresented, they must sign below.



Date:        05/29/2024                                                     /s/ Deidre Ruth Carter-Jones
                                                                   Deidre Ruth Carter-Jones
                                                                   Debtor

Date:
                                                                   Joint Debtor




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